        Case 17-60265              Doc 102         Filed 09/06/18 Entered 09/06/18 12:02:34                              Desc Main
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                                           UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF VIRGINIA
                                              CHARLOTTESVILLE DIVISION

              In re: JACKSON, IAN R.                                                            § Case No. 17-60265
                     JACKSON, DENISE F.                                                         §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on February 13, 2017. The undersigned trustee was appointed on February 13, 2017.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $               102,320.91

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                0.00
                                    Administrative expenses                                          53,683.00
                                    Bank service fees                                                   496.19
                                    Other payments to creditors                                           0.00
                                    Non-estate funds paid to 3rd Parties                                  0.00
                                    Exemptions paid to the debtor                                         0.00
                                    Other payments to the debtor                                          0.00
                             Leaving a balance on hand of 1                         $                48,141.72
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)
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               6. The deadline for filing non-governmental claims in this case was 07/18/2017
       and the deadline for filing governmental claims was 08/14/2017. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $8,366.05. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $8,366.05, for a total compensation of $8,366.05. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $289.64, for total expenses of
               2
       $289.64.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 06/13/2018                    By: /s/W. STEPHEN SCOTT, TRUSTEE
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)
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                                                                                                                                                              Exhibit A


                                                                            Form 1                                                                            Page: 1

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 17-60265                                                               Trustee:        (660010)     W. STEPHEN SCOTT, TRUSTEE
Case Name:         JACKSON, IAN R.                                                  Filed (f) or Converted (c): 02/13/17 (f)
                   JACKSON, DENISE F.                                               §341(a) Meeting Date:        03/20/17
Period Ending: 06/13/18                                                             Claims Bar Date:             07/18/17

                                1                                   2                          3                      4              5                   6

                    Asset Description                            Petition/            Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                                  Values            Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                                  and Other Costs)                                         Remaining Assets

 1       101 West Park Drive, Charlottesville, VA 22901 (See      380,000.00                           0.00                          77,805.37                    FA
         Footnote)

 2       220 Anchor Cove, Bracey, VA 23919                        156,100.00                           0.00                               0.00                    FA

 3       19 Starboard Drive, Bracey, VA 23919                     220,000.00                           0.00                               0.00                    FA

 4       187 Windsor Place, Buckingham, VA 23921                  115,500.00                           0.00                               0.00                    FA

 5       115 Windsor Place, Buckingham, VA 23921                  115,000.00                           0.00                               0.00                    FA

 6       Cash                                                      18,000.00                           0.00                               0.00                    FA

 7       Checking: Suntrust Bank                                    2,288.00                       4,670.54                           4,670.54                    FA

 8       Checking: US Bank                                               25.00                         6.91                           1,000.00                    FA
          United Bank per docs provided by Debtors

 9       SunTrust Bank account in name of Tudor Place (See         12,500.00                           0.00                               0.00                    FA
         Footnote)

10       Household Goods and Furnishings                            5,187.00                           0.00                               0.00                    FA

11       Collectibles                                                   350.00                      348.00                                0.00                    FA

12       Womens clothing                                                110.00                         0.00                               0.00                    FA

13       Men's clothing                                                 120.00                         0.00                               0.00                    FA

14       Jewelry                                                        260.00                      258.00                                0.00                    FA

15       Jewelry: Wedding and engagement rings                          150.00                         0.00                               0.00                    FA

16       Board games                                                     50.00                       48.00                                0.00                    FA

17       Insurance: ING Reliastar                                         1.00                         0.00                               0.00                    FA

18       Insurance: F & G Life Ins                                        1.00                         0.00                               0.00                    FA

19       Insurance: F & G Life Ins                                        1.00                         0.00                               0.00                    FA

20       Retirement: LPL Financial                                 10,318.14                           0.00                               0.00                    FA

21       Retirement: LPL Financial                                 10,694.73                           0.00                               0.00                    FA

22       1 & J Home Builders LLC                                1,610,216.00                           0.00                               0.00                    FA

23       I & J Property Holdings Inc.                                     1.00                         0.00                               0.00                    FA

24       Front Gate Holdings, Inc.                                        1.00                         0.00                               0.00                    FA

25       Route 15, LLC                                            550,000.00                           0.00                               0.00                    FA


                                                                                                                               Printed: 06/13/2018 01:56 PM   V.14.03
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                                                                                                                                                                                Exhibit A


                                                                                    Form 1                                                                                      Page: 2

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 17-60265                                                                         Trustee:        (660010)      W. STEPHEN SCOTT, TRUSTEE
Case Name:         JACKSON, IAN R.                                                            Filed (f) or Converted (c): 02/13/17 (f)
                   JACKSON, DENISE F.                                                         §341(a) Meeting Date:         03/20/17
Period Ending: 06/13/18                                                                       Claims Bar Date:              07/18/17

                                1                                           2                            3                        4                    5                    6

                     Asset Description                                 Petition/             Estimated Net Value             Property            Sale/Funds            Asset Fully
          (Scheduled And Unscheduled (u) Property)                   Unscheduled        (Value Determined By Trustee,       Abandoned            Received by        Administered (FA)/
                                                                        Values             Less Liens, Exemptions,          OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)                                                     Remaining Assets

26        2016 income tax refunds: Federal (See Footnote)                       1.00                         3,095.00                                  3,095.00                     FA

27        2016 income tax refunds: Va. State (See Footnote)                     1.00                         5,750.00                                  5,750.00                     FA

28        Second Mortgage on real estate                                   75,000.00                             0.00                                        0.00                   FA

29        2013 Chevrolet Volt                                               3,654.00                             0.00                                        0.00                   FA

30        Preference-Tudor Place Loan (u)                                  10,000.00                      10,000.00                                   10,000.00                     FA

 30      Assets      Totals (Excluding unknown values)                $3,295,529.87                      $24,176.45                                 $102,320.91                  $0.00


      RE PROP# 1        Property foreclosed by United Bank 1/23/18 resulting in surplus funds to estate of $77805.37
      RE PROP# 9        Trustee determined not property of the estate
      RE PROP# 26       Return received 10/29/17
      RE PROP# 27       Return received 10/29/17



      Major Activities Affecting Case Closing:

                  Consult with CPA and determine Trustee to file tax returns - done 5/11/18
                  Complete service of Orders disposing of Objections to Claims -done 2/20/18
                  Draft and submit Orders disposing of Objections to Claims - done 2/16/18
                  Attend 2/15/18 hearing on Objections to Claims - done 2/15/18
                  Confirm Dates of PC filing by Union Bank for unsecured deficiency within timefram set forth in stay motin order #32 re 187 Tudor Place-See Claim 34-done and claim
                  withdrawn 1/24/18
                  Service Objections to Claims and Orders after entry by court - done 12/22/17
                  Review claims after 8/14/17 govt claims bar date - done 10/27/17 (Documentation requested on some claims-may require objection not rec'd) - some info received;
                  objection to claim filed on non-responsive claimants - 12/21/17
                  Collect Debtors' non-exempt 2016 tax refunds - rec''d 11/30/17
                  Debtors' 2016 tax returns requested when prepared - filing extended to 10/15/17 - received 10/30/17
                  Receive check from Debtors representing non-exempt assets and deposit to estate bank account - 9/5/17
                  Multiple follow-up emails to Marshall Slayton regarding assets to be administered - 4/20/17 - 7/27/17
                  Review Debtors' information regarding Tudor Place and send email to Marshall Slayton re Tee's position of assets to administer - 4/14/17
                  Review Debtors' response regarding DMV report - 5/19/17
                  Review DMV report and email to Marshall Slayton - 5/17/17
                  Meet with Marshall Slayton and Debtors to review case in advance of continued 341 meeting - 3/29/17




                                                                                                                                               Printed: 06/13/2018 01:56 PM     V.14.03
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                                                                                                                                                                   Exhibit A


                                                                          Form 1                                                                                   Page: 3

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 17-60265                                                            Trustee:       (660010)      W. STEPHEN SCOTT, TRUSTEE
Case Name:       JACKSON, IAN R.                                                 Filed (f) or Converted (c): 02/13/17 (f)
                 JACKSON, DENISE F.                                              §341(a) Meeting Date:        03/20/17
Period Ending: 06/13/18                                                          Claims Bar Date:             07/18/17

                              1                                       2                     3                       4                    5                     6

                    Asset Description                             Petition/        Estimated Net Value          Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)               Unscheduled   (Value Determined By Trustee,    Abandoned            Received by        Administered (FA)/
                                                                   Values        Less Liens, Exemptions,       OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                               and Other Costs)                                                  Remaining Assets

     Initial Projected Date Of Final Report (TFR):    February 28, 2018            Current Projected Date Of Final Report (TFR):       July 31, 2018




                                                                                                                                   Printed: 06/13/2018 01:56 PM    V.14.03
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                                                                                                                                                                                   Exhibit B


                                                                                   Form 2                                                                                          Page: 1

                                                     Cash Receipts And Disbursements Record
Case Number:         17-60265                                                                       Trustee:              W. STEPHEN SCOTT, TRUSTEE (660010)
Case Name:           JACKSON, IAN R.                                                                Bank Name:            Rabobank, N.A.
                     JACKSON, DENISE F.                                                             Account:              ******5966 - Checking Account
Taxpayer ID #:       **-***5339                                                                     Blanket Bond:         $3,000,000.00 (per case limit)
Period Ending: 06/13/18                                                                             Separate Bond: N/A

   1             2                          3                                       4                                                 5                     6                  7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements             Checking
  Date      Check #           Paid To / Received From                Description of Transaction                  T-Code              $                  $                Account Balance
09/05/17                   Denice and Ian Jackson            Payment for non-exempt assts                                             14,670.54                                 14,670.54
               {7}                                              non-exempt balance in            4,670.54      1129-000                                                         14,670.54
                                                                bank account
               {30}                                             non-exempt preference           10,000.00      1241-000                                                         14,670.54
                                                                payment
09/29/17                   Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                          16.17          14,654.37
10/31/17                   Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                          22.48          14,631.89
11/30/17                   DENISE AND IAN JACKSON            2016 FEDERAL AND VA TAX REFUNDS                                           8,845.00                                 23,476.89
               {26}                                             2016 FED TAX REFUND              3,095.00      1124-000                                                         23,476.89
               {27}                                             2016 VA TAX REFUND               5,750.00      1124-000                                                         23,476.89
11/30/17                   Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                          21.04          23,455.85
12/29/17                   Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                          32.18          23,423.67
01/31/18                   Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                          37.05          23,386.62
02/28/18                   Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                          31.39          23,355.23
03/19/18       {1}         Lenhart Pettit PC Trust Account   Surplus from foreclosurer sale of 101 West        1110-000               77,805.37                               101,160.60
                                                             Park Drive
03/30/18                   Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                          70.89        101,089.71
04/30/18                   Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                         140.55        100,949.16
05/10/18         1         INTERNAL REVENUE SERVICE          Ref # DENISE/EIN306613660-POST                    2810-000                                     41,425.00           59,524.16
                                                             PETITION TAX
                                                             Voided on 05/10/18
05/10/18         1         INTERNAL REVENUE SERVICE          Ref # DENISE/EIN306613660-POST                    2810-000                                    -41,425.00         100,949.16
                                                             PETITION TAX
                                                             Voided: check issued on 05/10/18
05/10/18         2         VA DEPARTMENT OF TAXATION         Ref # DENISE/EIN306613660-POST                    2820-000                                     12,258.00           88,691.16
                                                             PETITION TAX
05/10/18         3         UNITED STATES TREASURY            Ref # DENISE/EIN306613660                         2810-000                                     41,425.00           47,266.16
05/21/18       {8}         UNITED BANK                       Refund of escrow fund in United Bank Account      1129-000                1,000.00                                 48,266.16
05/31/18                   Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                         124.44          48,141.72

                                                                                  ACCOUNT TOTALS                                    102,320.91              54,179.19         $48,141.72
                                                                                          Less: Bank Transfers                             0.00                   0.00
                                                                                  Subtotal                                          102,320.91              54,179.19
                                                                                          Less: Payments to Debtors                                               0.00
                                                                                  NET Receipts / Disbursements                     $102,320.91             $54,179.19




{} Asset reference(s)                                                                                                                          Printed: 06/13/2018 01:56 PM        V.14.03
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                                                                                                                                                                           Exhibit B


                                                                               Form 2                                                                                      Page: 2

                                                  Cash Receipts And Disbursements Record
Case Number:         17-60265                                                                  Trustee:            W. STEPHEN SCOTT, TRUSTEE (660010)
Case Name:           JACKSON, IAN R.                                                           Bank Name:          Rabobank, N.A.
                     JACKSON, DENISE F.                                                        Account:            ******5966 - Checking Account
Taxpayer ID #:       **-***5339                                                                Blanket Bond:       $3,000,000.00 (per case limit)
Period Ending: 06/13/18                                                                        Separate Bond: N/A

   1             2                         3                                    4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction              T-Code              $                  $               Account Balance


                                                                                                                                 Net             Net                    Account
                                                                              TOTAL - ALL ACCOUNTS                             Receipts     Disbursements               Balances

                                                                              Checking # ******5966                          102,320.91              54,179.19          48,141.72

                                                                                                                            $102,320.91             $54,179.19        $48,141.72




{} Asset reference(s)                                                                                                                   Printed: 06/13/2018 01:56 PM       V.14.03
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                                                            EXHIBIT C
                                                     ANALYSIS OF CLAIMS REGISTER                                 Claims Bar Date: July 18, 2017

Case Number: 17-60265                                                     Page: 1                                              Date: June 13, 2018
Debtor Name: JACKSON, IAN R.                                                                                                   Time: 01:56:33 PM
Claim #   Creditor Name & Address                       Claim Type       Claim Ref. No. / Notes         Amount Allowed          Paid to Date      Claim Balance

TAXVA     VA DEPARTMENT OF TAXATION                     Admin Ch. 7      DENISE/EIN306613660                   $12,258.00         $12,258.00                0.00
200       P. O. BOX 1478                                                 POST PETITIONCAPITAL GAIN TAX ON EQUITY REALIZED FROM
          RICHMOND, VA 23218-1478                                        FORECLOSURE SALE OF WEST PARK


CPAEXP    KEITH A. SKINNER, CPA                         Admin Ch. 7                                                $22.97               $0.00              22.97
200       418 E WATER STREET
          CHARLOTTESVILLE, VA 22902
CPAFEE    KEITH A. SKINNER, CPA                         Admin Ch. 7                                             $3,312.50               $0.00          3,312.50
200       418 E WATER STREET
          CHARLOTTESVILLE, VA 22902
TAXFED    UNITED STATES TREASURY                        Admin Ch. 7      DENISE/EIN306613660                   $41,425.00         $41,425.00                0.00
200       INTERNAL REVENUE SERVICE                                       POST PETITION CAPITAL GAINS ON EQUITY REALIZED FROM FORECLOSURE
          P. O. BOX 931000                                               SALE OF WEST PARK PROPERTY
          LOUISVILLE, KY 40293-1000


TEEEXP    W. STEPHEN SCOTT, TRUSTEE                     Admin Ch. 7                                               $289.64               $0.00            289.64
200       P. O. BOX 1312
          CHARLOTTESVILLE, VA 22902
TEEFEE    W. STEPHEN SCOTT, TRUSTEE                     Admin Ch. 7                                             $8,366.05               $0.00          8,366.05
200       P. O. BOX 1312
          CHARLOTTESVILLE, VA 22902
41P       Greene County Treasurer                       Priority                                                $1,653.97               $0.00          1,653.97
 570      P.O. Box 157                                                   2016 Business License Fee of Debtors
          Stanardsville, VA 22973-0157
1         County of Fluvanna                            Secured                                                     $0.00               $0.00               0.00
 100      P O Box 299                                                    PPT secured by lien on vehicle - no payment by estate since not liquidated by trustee
          Palmyra, VA 22963
7         Larry Gregory                                 Secured                                                     $0.00               $0.00               0.00
 100      3517 Carroll Creek Rd                                          Claim filed as secured - collateral not liquidated by Trustee - no payment by estate
          Keswick, VA 22947
23S       Certified Environmental Drilling, Inc.        Secured                                                     $0.00               $0.00               0.00
 100      P.O. Box 6538                                                  Objection sustained; claim denied by Order #89 entered 2/20/18
          Charlottesville, VA 22906
26S       Builders FirstSource-Atlantic Group, LLC      Secured                                                     $0.00               $0.00               0.00
 100      7812 Richmond Road                                             Amended by 26S-2 - objection withdrawn by Order #94 entered 2/20/18
          Toana, VA 23168
26S-2     Builders FirstSource-Atlantic Group, LLC      Secured                                                     $0.00               $0.00               0.00
 100      7812 Richmond Road                                             no payment by estate-property subject to M/L not liquidated by trustee
          Toana, VA 23168
27        Union Bank & Trust                            Secured                                                     $0.00               $0.00               0.00
 100      c/o Michael D. Mueller, Esq.,Christian                         376 - I & J and Personal Guaranty of Debtors
          & Barton, LLP,909 East Main Street, Suit                       Claim for $1030122.90 Amended by 27-2
          Richmond, VA 23219-3095
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                                                            EXHIBIT C
                                                     ANALYSIS OF CLAIMS REGISTER                                        Claims Bar Date: July 18, 2017

Case Number: 17-60265                                                Page: 2                                                               Date: June 13, 2018
Debtor Name: JACKSON, IAN R.                                                                                                               Time: 01:56:33 PM
Claim #   Creditor Name & Address                      Claim Type   Claim Ref. No. / Notes                   Amount Allowed                  Paid to Date     Claim Balance

27S-2     Union Bank & Trust                           Secured                                                               $0.00                    $0.00            0.00
 100      c/o Michael D. Mueller, Esq.,Christian                    01/24/2018 Amendment 27-2 imported by WSS; original claim disallowed
          & Barton, LLP,909 East Main Street, Suit                  --------------------------------------------------------------------------------* * *
          Richmond, VA 23219-3095                                   376 - I & J and Personal Guaranty of Debtors



27S-3     Union Bank & Trust                           Secured                                                               $0.00                    $0.00            0.00
 100      c/o Michael D. Mueller, Esq.,Christian                    Collateral not liquidated by Trustee - no payment by estate
          & Barton, LLP,909 East Main Street, Suit                  01/29/2018 Amendment 27-3 imported by WSS; original claim disallowed
          Richmond, VA 23219-3095                                   --------------------------------------------------------------------------------* * *
                                                                    376 - I & J and Personal Guaranty of Debtors



28        Union Bank & Trust                           Secured                                                               $0.00                    $0.00            0.00
 100      c/o Michael D. Mueller, Esq.,Christian                    Amended by 28-2
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
33S       Union Bank & Trust                           Secured                                                               $0.00                    $0.00            0.00
 100      c/o Michael D. Mueller, Esq.,Christian                    Amended by 33-2
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
34S       Union Bank & Trust                           Secured                                                               $0.00                    $0.00            0.00
 100      c/o Michael D. Mueller, Esq.,Christian                    amended by 34-2
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
36S       Union Bank & Trust                           Secured                                                               $0.00                    $0.00            0.00
 100      c/o Michael D. Mueller, Esq.,Christian                    amended by 36-2
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
37        Union Bank & Trust                           Secured                                                               $0.00                    $0.00            0.00
 100      c/o Michael D. Mueller, Esq.,Christian                    amended by 37-2
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
38        United Bank                                  Secured                                                               $0.00                    $0.00            0.00
 100      c/o Mary Joanne Dowd, Esq.                                4848 - Obligation of I & J - collateral not liquidated by Trustee - no payment by estate
          Arent Fox LLP,1717 K Street, NW
          Washington, DC 20006-5344
2         Commonwealth Building Materials, Inc. f/k/a Unsecured                                                       $13,096.55                      $0.00       13,096.55
 610      Shenan                                                    Judgment vs. I & J J Home Builders LLC and Ian Jackson
          c/o Edward W. Cameron, Esq.
          4100 Monument Corner Dr., Suite 420
          Fairfax, VA 22030
3         Central Wholesale Supply Corporation         Unsecured                                                          $340.15                     $0.00          340.15
 610      P.O. Box 7206                                             Account of I & J Home Builders LLC Guaranteed by Ian Jackson
          Norfolk, VA 23509
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                                                      EXHIBIT C
                                               ANALYSIS OF CLAIMS REGISTER                              Claims Bar Date: July 18, 2017

Case Number: 17-60265                                             Page: 3                                             Date: June 13, 2018
Debtor Name: JACKSON, IAN R.                                                                                          Time: 01:56:33 PM
Claim #   Creditor Name & Address                   Claim Type   Claim Ref. No. / Notes         Amount Allowed         Paid to Date     Claim Balance

4         American Express Bank, FSB                Unsecured    2006                                $144,225.24                $0.00       144,225.24
 610      c/o Becket and Lee LLP                                 2006 - Account of I & J Home Builders and Denise F. Jackson
          PO Box 3001
          Malvern, PA 19355-0701
5         Allied Portable Toilets, LLC              Unsecured                                               $0.00               $0.00              0.00
 610      P.O. Box 939                                           Objection sustained; claim disallowed by Order #92 entered 2/20/18
          Crozet, VA 22932
6         Larry F. Gregory                          Unsecured                                               $0.00               $0.00              0.00
 610      3157 Carol Creek Road                                  Claim identified as secured for $250,000 and no amount claimed as unsecured.
          Keswick, VA 22947
8         Cavalier Container LLC                    Unsecured                                               $0.00               $0.00              0.00
 610      2316 Highland Ave                                      Objection sustained; claim disallowed by Order #91 entered 2/20/18
          Charlottesville, VA 22903
9         PYOD, LLC its successors and assigns as   Unsecured    5795                                 $29,096.06                $0.00         29,096.06
 610      assignee                                               5795 - Ian Jackson
          of Citibank, N.A.
          Resurgent Capital Services,PO Box 19008
          Greenville, SC 29602
10        Luck Stone Corporation                    Unsecured    3057                                 $39,374.18                $0.00         39,374.18
 610      P.O. Box 29682                                         3057 - Account of I & J Home Builders LLC Guaranteed by Ian Jackson
          Richmond, VA 23242
11        Wilson Redi Mix, LLC                      Unsecured                                           $5,472.04               $0.00          5,472.04
 610      PO Box 23                                              Account of I & J Home Builders LLC Guaranteed by Ian Jackson
          Bridgewater, VA 22812
12        Stanley Land Surveys                      Unsecured                                               $0.00               $0.00              0.00
 610      106 Crofton Plaza - Suite 8                            Claim vs. I & J Home Builders LLC only - This claim for $2,260.00 withdrawn on
          Palmyra, VA 22963                                      12/12/17 by Doc #53


13        Davenport Insulation                      Unsecured                                           $7,197.20               $0.00          7,197.20
 610      6471 S. Valley Pike                                    Documentation provided to Trustee of personal liability of Ian Jackson on account of I
          Mt. Crawford, VA 22841                                 &J


14        Real Wood Floors                          Unsecured                                           $4,580.47               $0.00          4,580.47
 610      355 S. Highway 63                                      Claim vs I & J Home Builders LLC and Ian Jackson as guarantor (Documentation
          West Plains, MO 65775                                  provided to Tee)


15        Carl Reid Corbin                          Unsecured                                               $0.00               $0.00              0.00
 610      P. O. Box 247                                          Response and documentation does not support personal liability of Debtors;
          Palmyra, VA 22963-0247                                 Objection sustained by Order #93 entered 2/20/18


16        Hoover Penrod PLC                         Unsecured                                           $1,455.00               $0.00          1,455.00
 610      342 S. Main St.                                        Documentation provided to Tee of Debtors' personal liability
          Harrisonburg, VA 22801
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                                                            EXHIBIT C
                                                     ANALYSIS OF CLAIMS REGISTER                                         Claims Bar Date: July 18, 2017

Case Number: 17-60265                                                 Page: 4                                                               Date: June 13, 2018
Debtor Name: JACKSON, IAN R.                                                                                                                Time: 01:56:33 PM
Claim #   Creditor Name & Address                       Claim Type   Claim Ref. No. / Notes                   Amount Allowed                  Paid to Date     Claim Balance

17        The Sherwin-Williams Company                  Unsecured    0552                                               $8,467.57                      $0.00        8,467.57
 610      c/o Solodar & Solodar, Attys                               0552 Judgment vs. I & J Home Builders LLC and Ian Jackson
          4825 Radford Ave., Suite 201
          Richmond, VA 23230
18        A&M Supply Corporation                        Unsecured                                                      $66,443.44                      $0.00       66,443.44
 610      c/o Jamie A. Mastandrea, Esq.                              Claim vs. I & J Homebuilders and Ian Jackson as guarantor
          5200-B Rolling Road
          Burke, VA 22015
19        Skyline Brick LLC                             Unsecured                                                             $0.00                    $0.00            0.00
 610      3900 Seminole Trail                                        4775 - Account of I & J Home Builders LLC - no personal guarantee of Debtors - This
          Charlottesville, VA 22911                                  claim for $14,326.23 withdrawn on 12/19/17 by Doc #58


20        John A. Dezio                                 Unsecured                                                       $2,034.07                      $0.00        2,034.07
 610      2350 Commonwealth Drive, Suite C                           Legal services provided to Ian Jackson - doc provided to Trustee by Claimant
          Charlottesville, VA 22901
21        Campbell Equipment Inc                        Unsecured                                                             $0.00                    $0.00            0.00
 610      16640 James Madison Hwy                                    Objection sustained; claimed denied by Order #87 entered 2/20/18
          Palmyra, VA 22963
22        Jones Texaco dba All Star Auto Parts          Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Jones Automotive dba All Star Auto P                   Objection sustained; claimed denised by Order #88 entered 2/20/18
          P O Box 910
          Troy, VA 22974
23U       Certified Environmental Drilling, Inc.        Unsecured                                                             $0.00                    $0.00            0.00
 610      P.O. Box 6538                                              Objection sustained; claim denied by Order #89 entered 2/20/18
          Charlottesville, VA 22906
24        Synchrony Bank                                Unsecured    1338 LOWES                                        $42,515.13                      $0.00       42,515.13
 610      c/o PRA Receivables Management, LLC                        1338 Lowes-Ian Jackson
          PO Box 41021
          Norfolk, VA 23541
25        Synchrony Bank                                Unsecured    4213 SAMS CLUB                                        $219.03                     $0.00          219.03
 610      c/o PRA Receivables Management, LLC                        4213 Sams Club - Denise Jackson
          PO Box 41021
          Norfolk, VA 23541
26U       Builders FirstSource-Atlantic Group, LLC      Unsecured                                                             $0.00                    $0.00            0.00
 610      7812 Richmond Road                                         amended by 26U-2; Objection withdrawn by Order #94 entered 2/20/18
          Toana, VA 23168
26U-2     Builders FirstSource-Atlantic Group, LLC      Unsecured                                                      $79,493.95                      $0.00       79,493.95
 610      7812 Richmond Road                                         Account of I & J Home Builders LLC guaranteed by Ian Jackson
          Toana, VA 23168
27P-2     Union Bank & Trust                            Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                     01/24/2018 Amendment 27-2 imported by WSS; original claim disallowed
          & Barton, LLP,909 East Main Street, Suit                   --------------------------------------------------------------------------------* * *
          Richmond, VA 23219-3095                                    376 - I & J and Personal Guaranty of Debtors
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                                                            EXHIBIT C
                                                     ANALYSIS OF CLAIMS REGISTER                                        Claims Bar Date: July 18, 2017

Case Number: 17-60265                                                Page: 5                                                               Date: June 13, 2018
Debtor Name: JACKSON, IAN R.                                                                                                               Time: 01:56:33 PM
Claim #   Creditor Name & Address                      Claim Type   Claim Ref. No. / Notes                   Amount Allowed                  Paid to Date     Claim Balance

27U-3     Union Bank & Trust                           Unsecured                                                    $207,033.45                       $0.00      207,033.45
 610      c/o Michael D. Mueller, Esq.,Christian                    01/29/2018 Amendment 27-3 imported by WSS; original claim disallowed
          & Barton, LLP,909 East Main Street, Suit                  --------------------------------------------------------------------------------* * *
          Richmond, VA 23219-3095                                   376 - I & J and Personal Guaranty of Debtors



28 -2     Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    Amended by 28-3
          & Barton, LLP,909 East Main Street, Suit                  01/24/2018 Amendment 28-2 imported by WSS; original claim disallowed
          Richmond, VA 23219-3095                                   --------------------------------------------------------------------------------* * *



28 -3     Union Bank & Trust                           Unsecured                                                      $19,126.07                      $0.00       19,126.07
 610      c/o Michael D. Mueller, Esq.,Christian                    4250 Debtors' personal guarantee of obligation of Route 15 Fluvanna 11B, LLC
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095


29        Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    Claim withdrawn 12/15/17 by Doc #54
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
30        Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    Claim withdrawn 12/15/17 by Doc #55
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
31        Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    Claim withdrawn 12/15/17 by Doc #56
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
32        Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    Claim withdrawn 12/15/17 by Doc#57
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
33 -2     Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    amended by 33-3
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
33 -3     Union Bank & Trust                           Unsecured                                                      $23,266.16                      $0.00       23,266.16
 610      c/o Michael D. Mueller, Esq.,Christian                    9650 - Debtors' personal guarantee of obligation of I & J Home Builders, LLC
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
33U       Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    amended by 33-2
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
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                                                            EXHIBIT C
                                                     ANALYSIS OF CLAIMS REGISTER                                        Claims Bar Date: July 18, 2017

Case Number: 17-60265                                                Page: 6                                                               Date: June 13, 2018
Debtor Name: JACKSON, IAN R.                                                                                                               Time: 01:56:33 PM
Claim #   Creditor Name & Address                      Claim Type   Claim Ref. No. / Notes                   Amount Allowed                  Paid to Date     Claim Balance

34 -2     Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    Claim 34 withdrawn 1/24/18 by Doc #78
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
34U       Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    amended by 34-2
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
35        Union Bank & Trust                           Unsecured    1123                                                     $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    Amended by 35-2
          & Barton, LLP,909 East Main Street, Suit                  1123 - Business Loan to Debtors
          Richmond, VA 23219-3095


35 -2     Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    amended by 35-3
          & Barton, LLP,909 East Main Street, Suit                  01/24/2018 Amendment 35-2 imported by WSS; original claim disallowed
          Richmond, VA 23219-3095                                   --------------------------------------------------------------------------------* * *
                                                                    1123 - Business Loan to Debtors



35 -3     Union Bank & Trust                           Unsecured                                                      $35,881.31                      $0.00       35,881.31
 610      c/o Michael D. Mueller, Esq.,Christian                    1123 - Business Loan to Debtors
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
36 -2     Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    01/24/2018 Amendment 36-2 imported by WSS; original claim disallowed
          & Barton, LLP,909 East Main Street, Suit                  --------------------------------------------------------------------------------* * *
          Richmond, VA 23219-3095


36 -3     Union Bank & Trust                           Unsecured                                                      $83,718.72                      $0.00       83,718.72
 610      c/o Michael D. Mueller, Esq.,Christian                    7550 - Debtors personal guarantee of obligation of I & J Home Builders, LLC
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
36U       Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    amended by 36-2
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
37 -2     Union Bank & Trust                           Unsecured                                                             $0.00                    $0.00            0.00
 610      c/o Michael D. Mueller, Esq.,Christian                    amended by 37-3
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
37 -3     Union Bank & Trust                           Unsecured                                                      $39,913.72                      $0.00       39,913.72
 610      c/o Michael D. Mueller, Esq.,Christian                    5950 - Debtors' personal guarantee of obligationof I & J Home Builders, LLC
          & Barton, LLP,909 East Main Street, Suit
          Richmond, VA 23219-3095
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                                                     EXHIBIT C
                                              ANALYSIS OF CLAIMS REGISTER                             Claims Bar Date: July 18, 2017

Case Number: 17-60265                                            Page: 7                                            Date: June 13, 2018
Debtor Name: JACKSON, IAN R.                                                                                        Time: 01:56:33 PM
Claim #   Creditor Name & Address                  Claim Type   Claim Ref. No. / Notes        Amount Allowed         Paid to Date    Claim Balance

39        Quinn Beversluis                         Unsecured                                              $0.00             $0.00               0.00
 610      5544 Three Notch Rd                                   S/A in name of Ian Jackson and I & J Homebuilders for commissions - Schedule F
          Louisa, VA 23093                                      lists as Disputed.
                                                                Objection to claim sustained; claim denied by Order #90 entered 2/20/18


41U       Greene County Treasurer                  Unsecured                                           $165.40              $0.00             165.40
 610      P.O. Box 157                                          Penalties owing on unpaid 2016 Business License Fee of Debtors - government
          Stanardsville, VA 22973-0157                          claim therefore not late


40        Wells Fargo Vendor Financial Services LLC Unsecured                                       $25,331.10              $0.00          25,331.10
 620      1010 Thomas Edison Blvd SW                            LATE FILED CLAIM
          Cedar Rapids, IA 52404

<< Totals >>                                                                                        945,774.14          53,683.00         892,091.14
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                                 TRUSTEE'S PROPOSED DISTRIBUTION                                      Exhibit D

           Case No.: 17-60265
           Case Name: JACKSON, IAN R.
           Trustee Name: W. STEPHEN SCOTT, TRUSTEE
                                              Balance on hand:                         $          48,141.72
            Claims of secured creditors will be paid as follows:

Claim       Claimant                              Claim Allowed Amount Interim Payments               Proposed
No.                                             Asserted       of Claim          to Date              Payment
   1        County of Fluvanna                     663.32               0.00               0.00            0.00
   7        Larry Gregory                     250,000.00                0.00               0.00            0.00
  23S       Certified Environmental            15,150.00                0.00               0.00            0.00
            Drilling, Inc.
  26S       Builders                                 0.00               0.00               0.00            0.00
            FirstSource-Atlantic Group,
            LLC
  26S-2     Builders                           12,372.20                0.00               0.00            0.00
            FirstSource-Atlantic Group,
            LLC
  27        Union Bank & Trust                       0.00               0.00               0.00            0.00
  27S-2     Union Bank & Trust                       0.00               0.00               0.00            0.00
  27S-3     Union Bank & Trust                360,700.00                0.00               0.00            0.00
  28        Union Bank & Trust                       0.00               0.00               0.00            0.00
  33S       Union Bank & Trust                       0.00               0.00               0.00            0.00
  34S       Union Bank & Trust                       0.00               0.00               0.00            0.00
  36S       Union Bank & Trust                       0.00               0.00               0.00            0.00
  37        Union Bank & Trust                       0.00               0.00               0.00            0.00
  38        United Bank                       379,213.98                0.00               0.00            0.00
                                              Total to be paid to secured creditors:   $               0.00
                                              Remaining balance:                       $          48,141.72

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                            Total Requested Interim Payments      Proposed
                                                                                      to Date     Payment
Trustee, Fees - W. STEPHEN SCOTT, TRUSTEE                          8,366.05                0.00        8,366.05
Trustee, Expenses - W. STEPHEN SCOTT, TRUSTEE                        289.64                0.00         289.64
Accountant for Trustee, Fees - KEITH A. SKINNER, CPA               3,312.50                0.00        3,312.50
Accountant for Trustee, Expenses - KEITH A. SKINNER,                   22.97               0.00           22.97

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CPA
Other Expenses: UNITED STATES TREASURY                                41,425.00          41,425.00                0.00
Other Expenses: VA DEPARTMENT OF TAXATION                             12,258.00          12,258.00                0.00
                             Total to be paid for chapter 7 administration expenses:        $          11,991.16
                             Remaining balance:                                             $          36,150.56

               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
                                                        None
                             Total to be paid for prior chapter administrative expenses:    $               0.00
                             Remaining balance:                                             $          36,150.56

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $1,653.97 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  41P          Greene County Treasurer                                 1,653.97                 0.00       1,653.97
                                                 Total to be paid for priority claims:      $           1,653.97
                                                 Remaining balance:                         $          34,496.59
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 853,114.91 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 4.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  2            Commonwealth Building Materials, Inc. f/k/a            13,096.55                 0.00         529.57
               Shenan
  3            Central Wholesale Supply Corporation                      340.15                 0.00          13.75
  4            American Express Bank, FSB                           144,225.24                  0.00       5,831.90
  5            Allied Portable Toilets, LLC                                0.00                 0.00              0.00


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6         Larry F. Gregory                                    0.00         0.00          0.00
8         Cavalier Container LLC                              0.00         0.00          0.00
9         PYOD, LLC its successors and assigns as        29,096.06         0.00      1,176.53
          assignee
10        Luck Stone Corporation                         39,374.18         0.00      1,592.14
11        Wilson Redi Mix, LLC                            5,472.04         0.00        221.27
12        Stanley Land Surveys                                0.00         0.00          0.00
13        Davenport Insulation                            7,197.20         0.00        291.03
14        Real Wood Floors                                4,580.47         0.00        185.22
15        Carl Reid Corbin                                    0.00         0.00          0.00
16        Hoover Penrod PLC                               1,455.00         0.00         58.83
17        The Sherwin-Williams Company                    8,467.57         0.00        342.40
18        A&M Supply Corporation                         66,443.44         0.00      2,686.71
19        Skyline Brick LLC                                   0.00         0.00          0.00
20        John A. Dezio                                   2,034.07         0.00         82.25
21        Campbell Equipment Inc                              0.00         0.00          0.00
22        Jones Texaco dba All Star Auto Parts                0.00         0.00          0.00
23U       Certified Environmental Drilling, Inc.              0.00         0.00          0.00
24        Synchrony Bank                                 42,515.13         0.00      1,719.14
25        Synchrony Bank                                   219.03          0.00          8.86
26U       Builders FirstSource-Atlantic Group, LLC            0.00         0.00          0.00
26U-2     Builders FirstSource-Atlantic Group, LLC       79,493.95         0.00      3,214.42
27P-2     Union Bank & Trust                                  0.00         0.00          0.00
27U-3     Union Bank & Trust                            207,033.45         0.00      8,371.61
28 -2     Union Bank & Trust                                  0.00         0.00          0.00
28 -3     Union Bank & Trust                             19,126.07         0.00        773.38
29        Union Bank & Trust                                  0.00         0.00          0.00
30        Union Bank & Trust                                  0.00         0.00          0.00
31        Union Bank & Trust                                  0.00         0.00          0.00
32        Union Bank & Trust                                  0.00         0.00          0.00
33 -2     Union Bank & Trust                                  0.00         0.00          0.00
33 -3     Union Bank & Trust                             23,266.16         0.00        940.79
33U       Union Bank & Trust                                  0.00         0.00          0.00

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 34 -2         Union Bank & Trust                                          0.00               0.00             0.00
 34U           Union Bank & Trust                                          0.00               0.00             0.00
 35            Union Bank & Trust                                          0.00               0.00             0.00
 35 -2         Union Bank & Trust                                          0.00               0.00             0.00
 35 -3         Union Bank & Trust                                   35,881.31                 0.00       1,450.90
 36 -2         Union Bank & Trust                                          0.00               0.00             0.00
 36 -3         Union Bank & Trust                                   83,718.72                 0.00       3,385.25
 36U           Union Bank & Trust                                          0.00               0.00             0.00
 37 -2         Union Bank & Trust                                          0.00               0.00             0.00
 37 -3         Union Bank & Trust                                   39,913.72                 0.00       1,613.95
 39            Quinn Beversluis                                            0.00               0.00             0.00
 41U           Greene County Treasurer                                   165.40               0.00             6.69
                            Total to be paid for timely general unsecured claims:         $          34,496.59
                            Remaining balance:                                            $               0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 25,331.10 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                      Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
 40            Wells Fargo Vendor Financial Services LLC            25,331.10                 0.00             0.00
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments          Proposed
No                                                                   of Claim          to Date         Payment
                                                       None
                                                Total to be paid for subordinated claims: $                0.00
                                                Remaining balance:                        $                0.00




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